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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                     FILED/RFC'D----
                                                                 im OCT 13 P 5: 25
UNITED STATES OF AMERICA,
                                                                   CLERK OF COURT
                                                                  US.DISTRICT COURT
                          Plaintiff,                             VERDKWF wl
      v.

DERRICK CLARK, SHAWN MESNER,
                                                                22-cr-55-jdp
and JAMES LENZ,

                          Defendants.



           COUNT 1 (FRAUD CONSPIRACY): DERRICK CLARK

   We, the Jury in the above-entitled cause, find the defendant, Derrick Clark,



                              AJq± fauilT           V
                             (“Guilty” or “Not Guilty’^

               of the offense charged in Count 1 of the indictment.

     Ifyou find Derrick Clark “Guilty” of Count 1, answer the question below. Ifyou find
     Denick Clark “Not Guilty” of Count I, skip the question below and go on to “Count 1
     (Fraud Conspiracy): Shawn Mesner.”

      We, the Jury, having found Derrick Clark “Guilty” of Count 1, further find
that Derrick Clark conspired to commit the following offense or offenses: (Place an
X next to each offense the defendant conspired to commit.)
      ____ Interstate Carrier Fraud in violation of Title 18, United States
           Code, Section 1341

            Wire Fraud in violation of Title 18, United States Code, Section 1343
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           COUNT 1 (FRAUD CONSPIRACY): SHAWN MESNER

   We, the Jury in the above-entitled cause, find the defendant, Shawn Mesner,




                              ;XLL
                             (“Guilty” or “Not Guilty”)

               of the offense charged in Count 1 of the indictment.

     Ifyou find Shewn Mesner “Guilty” of Count 1, answer the question below. Ifyou find
     Shawn Mesner “Not Guilty” of Count 1, skip the question below and go on to “Count 4
     (Conspiracy): Derrick Clark.”

      We, the Jury, having that Shawn Mesner “Guilty” of Count 1, further find
that Shawn Mesner conspired to commit the following offense or offenses: (Place an
X next to each offense the defendant conspired to commit.)

             Interstate Carrier Fraud in violation of Title 18, United States
             Code, Section 1341


            Wire Fraud in violation of Title 18, United States Code, Section 1343




                COUNT 4 (CONSPIRACY): DERRICK CLARK

    We, the Jury in the above-entitled cause, find the defendant, Derrick Clark,




                                          1W
                             (“Guilty” or “Not fc uilty”)

               of the offense charged in Count 4 of the indictment.

     Ifyou find Denick Clark “Guilty” of Count 4, answer the question below. Ifyou find
     Derrick Clark “Not Guilty” of Count 4, skip the question below and go on to “Count 4
     (Conspiracy): Shawn Mesner.”

      We, the Jury, having found Derrick Clark “Guilty” of Count 4, further find

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that Derrick Clark conspired to commit the following offense or offenses: (Place an
X next to each offense the defendant conspired to commit.)

       X The making or use of a false writing or document in violation of Title
      18, United States Code, Section 1001(a)(3)



             Falsification of a document in relation to a federal investigation in
      violation of Title 18, United States Code, Section 1519



       /V Obstruction of an agency proceeding in violation of Title 18, United
      States Code, Section 1505



                COUNT 4 (CONSPIRACY): SHAWN MESNER

   We, the Jury in the above-entitled cause, find the defendant, Shawn Mesner



                                        ITvi
                             (“Guilty” or “N^it Guilty”)

               of the offense charged in Count 4 of the indictment.

     Ifyou find Shawn Mesner “Guilty” of Count 4, answer the question below. Ifyou find
     Shawn Mesner “Not Guilty” of Count 4, skip the question below and go on to “Count 4
     (Conspiracy): James Lenz. ”

      We, the Jury, having that Shawn Mesner “Guilty” of Count 4, further find
that Shawn Mesner conspired to commit the following offense or offenses: (Place an
X next to each offense the defendant conspired to commit.)

             The making or use of a false writing or document in violation of Title
       18, United States Code, Section 1001(a)(3)



            Falsification of a document in relation to a federal investigation in
                                          3
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      violation of Title 18, United States Code, Section 1519



       A, Obstruction of an agency proceeding in violation of Title 18, United
      Mates Code, Section 1505



                   COUNT 4 (CONSPIRACY): JAMES LENZ

     We, the Jury in the above-entitled cause, find the defendant, James Lenz,



                                                      V
                             (“Guilty” or “Not Guilty )

               of the offense charged in Count 4 of the indictment.

     Ifyou find James Lenz “Guilty" of Count 4, answer the question below. Ifyou find James
     Lenz “Not Guilty" of Count 4, skip the question below and go on to “Count 5 (Document
    falsification in contemplation offederal investigation): Deirick Clark. ”

       We, the Jury, having that James Lenz “Guilty” of Count 4, further find that
James Lenz conspired to commit the following offense or offenses: (Place an X next
to each offense the defendant conspired to commit.)

      ____ The making or use of a false writing or document in violation of Title
      18, United States Code, Section 1001(a)(3)



      ____ Falsification of a document in relation to a federal investigation in
      violation of Title 18, United States Code, Section 1519



      ____ Obstruction of an agency proceeding in violation of Title 18, United
      States Code, Section 1505




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  COUNT 5 (DOCUMENT FALSIFICATION IN CONTEMPLATION OF
          FEDERAL INVESTIGATION): DERRICK CLARK


  We, the Jury in the above-entitled cause, find the defendant, Derrick Clark,



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                          (“Guilty” or “Not Guilty”)

             of the offense charged in Count 5 of the indictment.




COUNT 6 (FALSE ENTRIES IN RECORD WITHIN EPA’S JURISDICTION):
                       DERRICK CLARK


  We, the Jury in the above-entitled cause, find the defendant, Derrick Clark,



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                          (“Guilty” or “Not Guilty”)

             of the offense charged in Count 6 of the indictment.




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 COUNT 6 (FALSE ENTRIES IN RECORD WITHIN EPA’S JURISDICTION):
                          JAMES LENZ


        We, the Jury in the above-entitled cause, find the defendant, James Lenz,



                               /Jof (gialK/
                               (“Guilty” or “Not Guilty”)

                  of the offense charged in Count 6 of the indictment.




           COUNT 9 (OBSTRUCTION OF AGENCY PROCEEDINGS):

                                  DERRICK CLARK


    We, the Jury in the above-entitled cause, find the defendant, Derrick Clark,




                                   fan l-K/
                               (“Guilty” or “Notp uilty”)

                  of the offense charged in Count 9 of the indictment.




Madison, Wisconsin

Date:




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